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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

KERIE HANCOCK
149 N. 9" St. :
Newark, NJ 07107 : CIVIL ACTION
Plaintiff, : No.
Vv.
MEGAN J. BRENNAN : JURY TRIAL DEMANDED
POSTMASTER GENERAL :

c/o UNITED STATES POSTAL SERVICE :
NORTHEAST AREA OPERATIONS

475 L’Enfant Plaza SW

Washington, D.C. 20260-0004

Defendant.

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through his undersigned counsel, hereby avers as follows:
INTRODUCTION
1. This action has been initiated by Kerie Hancock (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) against Megan J. Brennan, Postmaster General c/o United
States Postal Service Northeast Area Operations (hereinafter referred to as “Defendant” unless
indicated otherwise) for violations of Title VII of the Civil Rights Act of 1964 ("Title VII" - 42
U.S.C. §§ 2000d et. seq.). As a direct consequence of Defendant’s unlawful actions, Plaintiff seeks
damages as set forth herein.
JURISDICTION AND VENUE
2. This Court has jurisdiction over the instant action pursuant to 28 U.S.C. § 1331

because this action arises under federal law.
 

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3, Plaintiff properly exhausted her administrative remedies under 29 C.F.R. §
1614.407 (a) before proceeding in this Court for violations of Title VII by timely filing a formal
complaint of discrimination with the Equal Employment Opportunity Investigative Services Office
for which the agency issued a final decision on December 13, 2016.

4, The United States District Court for the District of New Jersey is the appropriate
venue for this action pursuant to 28 U.S.C. §§1391(e)(2) and (e)(3), in that a substantial part of the
events or omissions giving rise to Plaintiff's claim occurred in this judicial district, and Plaintiff

resides in this judicial district.

PARTIES
5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, with an address as set forth in the caption.
7. Defendant is the United States Postmaster General.
8. At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their
employment with and for Defendant.
FACTUAL BACKGROUND

9. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

10. —‘ Plaintiff was hired by Defendant in or about 2013.

11. From in or about 2013 through in or about August of 2015, Plaintiff was employed
at Defendant’s New Jersey Network Distribution Center in Jersey City, New Jersey working in its

bulk department as a Mail Handler Assistant (“MHA”).
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12. While employed by Defendant as a MHA for the bulk department, Plaintiff was
primarily supervised by one, Dariel Bonilla “Bonilla”, MDO.

13. While Plaintiff initially expressed some romantic interest in Bonilla, her interest
faded and Plaintiff expressed to Bonilla that she was no longer romantically or sexually interested
in having any type of relationship with him by, including but not limited to, rejecting his sexual
advances.

14. Before and after Plaintiff ended her mutual relationship with Bonilla, Plaintiffs co-
workers and other members of Defendant’s management would subject Plaintiff to sexually
charged comments and insults such as accusing Plaintiff of “fucking the boss,” and calling Plaintiff
derogatory names such as “whore” and “jezebel.”

15. Further, after Plaintiff began to refuse Bonilla’s sexual advances and comments,
Bonilla began to retaliate against Plaintiff by treating her in a rude and condescending manner,
issuing her pretextual discipline, assigning her to more difficult work areas, and threatening her
employment (in addition to other retaliatory actions).

16. Plaintiff requested that Bonilla stop retaliating against her and complained that her
co-workers were subjecting her to unwelcomed comments regarding their previous relationship.
Bonilla responded to Plaintiff by telling her that she “brought it on [herself] (because she turned
down Bonilla’s sexual advances).

17.  Onor about August 28, 2015, after being subjected to multiple forms of retaliation
and sexual harassment from Bonilla, other members of management, and her co-workers (as
discussed supra), Plaintiff was ultimately terminated from her MHA position in the bulk

department for completely pretextual reasons.
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18. Bonilla, Jackie Thomas (Plant Manager), and another supervisor by the name of
“Matthew” (last name unknown) informed Plaintiff of her termination in a meeting on or about
August 28, 2015.

19.‘ Following her August 28, 2015 termination (discussed supra), Plaintiff grieved her
termination through her union and also filed a complaint with the EEO asserting that Bonilla had
retaliated against her for refusing his sexual advances and for complaining about her co-worker’s
sexually derogatory comments.

20. Jackie Thomas (Plant Manager) became involved in Plaintiff's EEO charge of
discrimination/retaliation and defended Bonilla, claiming that Bonilla never made sexual advances
towards Plaintiff and did not retaliate against Plaintiff. However, Plaintiff was able to show
evidence to the contrary.

21. Shortly after filing her aforementioned EEO complaint against Defendant claiming
retaliation and sexual harassment, Plaintiff was offered a job back within Defendant provided that
she waive any claims that she had against Defendant and withdraw her current EEO claim against
Defendant. Thomas also tried to make Plaintiff agree to a six month probation upon her return to
work.

22. Plaintiff agreed to withdraw her EEO claim against Defendant and its management
in exchange for reinstatement to a position within Defendant; however, she did not agree to the
aforesaid six-month probation upon her return.

23. ‘In or about October of 2015, after agreeing to withdraw her EEO claim in exchange
for reinstatement to a position within Defendant, Plaintiff returned to work as an MHA working
in the same building as she had been employed previously but in a different department (the

international department).
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24. | While employed in the international department, Plaintiff was originally supervised
by Sharon Debois (MDO), Mike (last name unknown), and Jonathan Sotto (Supervisor of
Distribution Operations).

25. Shortly after Plaintiff began working for Defendant again in or about October of
2015, she began to be subjected to further retaliation for her prior EEO activity (her complaint of
sexual harassment and retaliation following her August 2015 termination — discussed supra).

26. For example, when Plaintiff returned to work in or about October of 2015, she was
informed by MDO, Abigail (last name unknown) and further by her union, that she had to walk a
different, longer route to the cafeteria (a walk which consumed most of her lunch break) because
Defendant’s management in her former department did not want to come in contact with her or
have any interaction with her (because of her prior EEO activity).

27. Despite Plaintiff being told that she had to take a longer walking route to the
cafeteria because her prior management (whom she named in her EEO complaint) did not want to
have any interaction with her following her EEO activity and reinstatement, Plaintiffs prior
management, including but not limited to Bonilla, would often time comes into Plaintiff's new
department to just talk with management.

28. Plaintiff was further approached by her supervisor, Dubois, almost immediately
after she started working again for Defendant in October of 2015 and was called a “trouble maker.”
Dubois also told other employees to stay away from Plaintiff “because she [was] a trouble maker.”

29. Plaintiff was also approached by another supervisor, Sotto, who indicated that he

knew who Plaintiff was (before Plaintiff was even able to introduce herself).
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30. By way of further example, Defendant’s management would humiliate Plaintiff in
front of her co-workers, keep her under close surveillance, refuse to provide her with help, refuse
to provide her with a shop steward, and issue her pretextual discipline.

31.  Plaintiffinformed Sotto that ifthe constant retaliatory harassment (discussed supra)
did not cease, she would be forced to file another EEO complaint against Defendant and its
management.

32. Onor about March 15, 2016, Plaintiff was issued a letter of warning by Sotto for
alleged attendance issues; however, Plaintiff believes and therefore avers that such letter of
warning was completely pretextual and issued to her in retaliation for her prior EEO activity
(discussed supra).

33. For example, Plaintiff attempted to get a schedule change (similar to some of her
other co-workers) when he car broke down, but was denied by Defendant’s management, which
caused her to incur occurrences. On another occasion, Plaintiff reported to work, despite the fact
that her doctor told her not to (because she did not want her attendance affected) and Defendant’s
management sent her home anyway because her doctor’s note said she could not work - resulting
in another occurrence.

34. Onor about April 2, 2016, Plaintiff was made a permanent MHA and began being
primarily supervised by Sharon Smalls (“Smalls”) - MDO.

35. After Plaintiff became a permanent MHA, she also began being supervised by
Richard Jerome (Supervisor of Distribution Operations) for a short period of time until he became
a permanent supervisor and was required to report to training).

36. Almost immediately after Plaintiff became a permanent MHA, she was subjected

to hostility and animosity by Smalls (who, upon information and belief, also knew of Plaintiff's
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prior EEO activity), including but not limited to yelling and pointing her finger in Plaintiffs face,
threatening her job, refusing to allow other co-workers to talk to Plaintiff, following Plaintiff to
the bathroom, trying to find reasons to AWOL Plaintiff, assigning her more work than others, and
keeping a close surveillance on Plaintiff and her job performance.

37. Plaintiff made multiple written complaints to her union (labeled as “Abusive
Supervisor Incident Worksheets”) regarding Small’s (and other management’s) retaliatory
treatment of her because of her prior EEO activity and had even made a complaint to the postal
police regarding such retaliatory conduct; however, nothing was done to properly investigate the
matter or resolve Plaintiff’s concerns of retaliation.

38. | Onor about April 29, 2016, Plaintiff made another complaint to the EEO, asserting
that she had been retaliated against and subjected to harassment and hostility since returning to
work for Defendant in October of 2015 and that she believed that such
retaliation/harassment/hostility was occurring because of her prior EEO complaint (following her
August 2015 termination).

39. Onor about May 13, 2016, Plaintiff was placed in “Off Duty Status” for an incident
that occurred on or about May 12, 2016 between Plaintiff and another employee, Tykia Hay,
wherein Plaintiff was threatened and verbally assaulted by Hay.

40. Despite the fact that Plaintiff had informed Defendant’s management that Hay had
threatened and verbally attacked her, Stacy Brown - acting MDO (who, upon information and
belief, also knew of Plaintiff's prior EEO activity) did not place Hay in “Off Duty Status” like
Plaintiff.

41. Upon information and belief, Hay had not filed a previous EEO complaint.
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42. On or about May 18, 2016, Plaintiff was informed by Stacy Brown that she was
being discharged from her employment with Defendant due to the events that occurred on May
12, 2016, involving Hay — discussed supra.

43. Plaintiff was accused of threatening and bullying Hay on May 12, 2016; however,
before conducting any investigation, Brown informed Plaintiff that he “knows her’ and that he
pulled her folder and based on her “history,” he believed that Plaintiff approached Hay first and
caused the alleged altercation.

44. The proffered reasons for Plaintiff's termination were pretextual and Plaintiff was
actually terminated in retaliation for her prior EEO activity.

COUNT I
Violations of Title VII of the Civil Rights Act of 1964
Letter of Warning - Retaliation

45. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

46. Plaintiff properly exhausted her administrative remedies under 29 C.F.R. §
1614.407 (a) before proceeding in this Court for violations of Title VII by timely filing a formal
complaint of discrimination with the Equal Employment Opportunity Investigative Services Office
for which the agency issued a final decision.

47. Plaintiff was given a pretextual Letter of Warning in retaliation for complaining to

the EEO about sexual harassment and retaliation following her August 2015 termination.

48. These actions as aforesaid constitute violations of Title VIL
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COUNT II
Violations of Title VI of the Civil Rights Act of 1964
Hostile Work Environment - Retaliation

49. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

50. Plaintiff properly exhausted her administrative remedies under 29 C.F.R. §
1614.407 (a) before proceeding in this Court for violations of Title VII by timely filing a formal
complaint of discrimination with the Equal Employment Opportunity Investigative Services Office
for which the agency issued a final decision.

51. Plaintiff was subjected to a hostile work environment in retaliation for complaining
to the EEO about sexual harassment and retaliation following her August 2015 termination. Such
hostility included, but was not limited to, being followed to the restroom, given more work than
her fellow co-workers (who, upon information and belief, did not file EEO complaints), and being
called a trouble maker,

52. These actions as aforesaid constitute violations of Title VII.

COUNT Ill
Violations of Title VII of the Civil Rights Act of 1964
Emergency Off Duty Placement and Discharge — Retaliation

53. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

54. Plaintiff properly exhausted her administrative remedies under 29 C.F.R. §
1614.407 (a) before proceeding in this Court for violations of Title VII by timely filing a formal

complaint of discrimination with the Equal Employment Opportunity Investigative Services Office

for which the agency issued a final decision.
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55. Plaintiff made multiple written complaints to her union (labeled as “Abusive
Supervisor Incident Worksheets”) regarding Small’s (and other management’s) retaliatory
treatment of her because of Plaintiff’s prior EEO activity and had even made a complaint to the
postal police regarding such retaliatory conduct. Further, on or about April 29, 2016, Plaintiffmade
another complaint to the EEO, asserting that she had been retaliated against and subjected to
harassment and hostility since returning to work for Defendant in October of 2015 and that she
believed that such retaliation/harassment/hostility was occurring because of her prior EEO
complaint (which followed her August 2015 termination — discussed supra).

56. Onor about May 13, 2016, Plaintiff was placed in “Off Duty Status” for an incident
that occurred on or about May 12, 2016 between Plaintiff and another employee, Tykia Hay,
wherein Plaintiff was threatened and verbally assaulted by Hay.

57. Despite the fact that Plaintiff had informed Defendant’s management that Hay had
threatened and verbally attacked her, Stacy Brown - acting MDO (who, upon information and
belief, also knew of Plaintiff's prior EEO activity) did not place Hay in “Off Duty Status” like
Plaintiff.

58. On or about May 18, 2016, Plaintiff was informed by Brown that she was being
discharged from her employment with Defendant due to the events that occurred on May 12, 2016,
involving Hay.

59. Plaintiff was accused of threatening and bullying Hay on May 12, 2016; however,
before conducting any investigation Brown informed Plaintiff that he “knows her” and that he
“pulled [her] folder and based on her “history,” he believed that Plaintiff approached Hay first and

caused the alleged altercation.

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60. Plaintiff was placed in Emergency Off Duty Status and ultimately discharged from
her employment with Defendant in October of 2015 because she had previously complained to the
EEO about sexual harassment and retaliation following her August 2015 termination. These
actions as aforesaid constitute violations of Title VII.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but not limited to reinstatement, back pay, front pay, salary, pay
increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

B. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate (including but not limited to damages for emotional distress / pain and
suffering);

C. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

™
ap
By: YK 2
Ari R. Karpf, Esq.
3331 Street Road
Two Greenwood Square
Suite 128
Bensalem, PA 19020
(215) 639-0801

Dated: March 8, 2017

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